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                      MDL 1570 PLAINTIFFS’ EXECUTIVE COMMITTEES
                            In re: Terrorist Attacks on September 11, 2001 (S.D.N.Y.)

      Plaintiffs’ Executive Committee for Personal                Plaintiffs’ Executive Committee for
                 Injury and Death Claims                                  Commercial Claims
    Ronald L. Motley (1944-2013)                             Elliot R. Feldman, Co-Chair
    Jodi Westbrook Flowers / Donald A. Migliori, Co-Chairs   Sean Carter, Co-Chair
    MOTLEY RICE LLC                                          COZEN O’CONNOR
    James P. Kreindler, Co-Chair
    KREINDLER & KREINDLER LLP
    Andrew J. Maloney III, Co-Liaison Counsel                J. Scott Tarbutton, Liaison Counsel
    KREINDLER & KREINDLER LLP                                COZEN O’CONNOR
    Robert T. Haefele, Co-Liaison Counsel
    MOTLEY RICE LLC
                                      VIA ECF AND OVERNIGHT MAIL

March 13, 2018

The Honorable George B. Daniels
United States District Court
Southern District of New York
Daniel Patrick Moynihan United States Courthouse
500 Pearl Street
New York, NY 10007

           RE:       In Re: Terrorist Attacks on September 11, 2001, 03 MDL 1570 (GBD) (SN)

Dear Judge Daniels:

        The Plaintiffs Executive Committees (“PECs”) write to advise the Court that the
Consolidated Amended Complaint (“CAC”) plaintiffs consent to and join in the Ashton
plaintiffs’ motion to include the documents filed at ECF No. 3930, Exh. 1 and Exh. 2, as part of
the record concerning plaintiffs’ oppositions (including the CAC plaintiffs’ opposition) to the
pending motions to dismiss of the Kingdom of Saudi Arabia.

        The submitted documents corroborate and provide further evidentiary1 support for the
CAC plaintiffs’ factual allegations, see, e.g., CAC (ECF No. 3463) ¶¶ 42, 158(a)2-(b), 171, 249;
the sworn affidavit opinions offered by the CAC plaintiffs’ espionage expert, Michael Rochford,
see, e.g., Rochford Affidavit (ECF No. 3783, Exh. 6) at ¶¶ 10-11, 21-22, 41, 43-50; and the CAC
plaintiffs’ related legal arguments.



1
    See Fed. R. Civ. P. 803(8).
2
 “[T] he Saudi government maintained a network of agents in the United States in the years
preceding the 9/11 attacks, whose undisclosed functions involved performing activities on behalf
of and at the direction of the Wahhabi clerics who populated the Islamic Affairs Offices of the
Kingdom’s embassies and consulates in the United States.”
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The Honorable George B. Daniels
March 13, 2018
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 Respectfully submitted,


 MOTLEY RICE LLC                             COZEN O’CONNOR

  By: /s/ Robert T. Haefele                  By: /s/ Sean P. Carter
      ROBERT T. HAEFELE                          SEAN P. CARTER
      For the Plaintiffs’ Exec. Committees       For the Plaintiffs’ Exec. Committees


 ANDERSON KILL P.C.

 By: /s/ Jerry S. Goldman
     JERRY S. GOLDMAN
     For the Plaintiffs’ Exec. Committees

cc:    All Counsel of Record via ECF
       The Honorable Sarah Netburn (Via ECF & Federal Express)
